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‘JUL 12 2005

CLERK U S DISTRICT COURT
DISTRICT OF ARIZONA
BY - DEPUTY

 

 

 

 

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF ARIZONA

United States of America, .
CRO4 -968 -PHx -SMM

)
)
a )
Plaintiff, ) Wr - -P - SMM
. ) - M
Vv. )
. ) CONSENT OF DEFENDANT
Gregory Priore } AND
) ORDER OF REFERRAL
)
)

Defendant.

 

ORDER OF REFERRAL

Defendant, Gregory Priore , having
requested permission to enter a plea of guilty, and having >
consented to go forward with that plea of guilty before a
United States Magistrate Judge, the Court refers the matter to
Magistrate Judge__ David K. Duncan to administer the
allocution pursuant to Rule 11, Fed.R,Crim.P., and to make
findings as follows:

(A) Whether defendant (1) is competent to enter a plea;
(2) knowingly and voluntarily wishes to enter a plea to the.
charge(s); (3) understands the charge(s); (4) whether there
exista a factual basis for the charge(s); and a recommendation
as follows: . , -

(B) Whether the plea of guilty should be accepted by the
District Court. . ;

 

Chief United States District Judge

 

 
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CONSENT OF DEFENDANT

After full consultation with counsel, I voluntarily consent to
go forward with my plea of guilty before the United States
Magistrate Judge.

; Jos de i ah 2 fos

Defahd Date ‘

eh 7-12-08

eo Defendant/Date
cc: M .

 

 
